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                        IN THE UNITED STATES DISTRICT COURT

                                    DISTRICT OF ALASKA

METLAKATLA INDIAN COMMUNITY,
a Federally Recognized Indian Tribe,               Case No.: 5:20-cv-00008-SLG

               Plaintiff,                          PARTIES' JOINT MOTIONS TO
                                                   VACATE THE CURRENT TRIAL DATE,
      v.                                           MODIFY THE SCHEDULE, AND
                                                   BIFURCATE TRIAL ISSUES
MICHAEL J. DUNLEAVY, Governor of the
State of Alaska, DOUG VINCENT-LANG,
Commissioner of the Alaska Department of
Fish and Game, and JAMES E.
COCKRELL, Commissioner of the Alaska
Department of Public Safety

               Defendants.


 PARTIES’ JOINT MOTIONS TO VACATE THE CURRENT TRIAL DATE, MODIFY
              THE SCHEDULE, AND BIFURCATE TRIAL ISSUES

       The parties jointly move: (1) to vacate the trial date currently scheduled for the week of

February 10, 2025 and to modify its expert discovery and trial schedule; and (2) to bifurcate this

Court’s fact-finding on “whether the Community’s traditional off-reservation fishing grounds



 PAGE 1 – PARTIES' JOINT MOTIONS TO VACATE THE                              HAGLUND KELLEY LLP
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included the waters within Alaska Districts 1 and 2” from any briefing or fact-finding on the

State of Alaska’s limited entry permit program and the conservation-necessity principle.

       The parties’ requests comply with Federal Rules of Civil Procedure, Rule 6(b) (good

cause) and Rule 42 (bifurcation).

       I.      Given the complex nature of this expert-driven case, good cause exists to
               vacate the February 2025 trial date, to amend the expert discovery and
               motion schedule, and to schedule a new trial date.

       The parties request amending this Court’s trial schedule to accommodate the Defendants’

expert discovery. Pursuant to Federal Rule of Civil Procedure 6(b), this Court may modify

deadlines and trial dates for good cause.

       Good cause exists to vacate the current trial date and adjust the various deadlines. The

parties have diligently engaged in discovery. The Defendants and the Defendants’ expert’s

review of historical documents and records has proven more extensive than originally

anticipated. Additional time will ensure the Defendants’ expert has the opportunity to complete

a thorough analysis of the historical record and the key issues here. Further, additional time will

ensure the parties have the time to accommodate rebuttal expert reports, expert depositions, and

additional motion practice that will likely be necessary after completing those depositions. For

these reasons, the parties assert that good cause exists under Rule 6(b) to vacate the February

2025 trial date and to adjust the schedule to ensure this Court receives the best expert evidence

possible to decide the key factual issue before it.

       The parties have agreed to the following expert discovery and motion deadlines:

               •   January 17, 2025: Expert Witness Disclosures

               •   February 17, 2025: Expert Witness Rebuttal Reports

               •   March 19, 2025: Deadline for Expert Witness Depositions
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               •      Dispositive Motions Within 30 Days of Final Expert Deposition with

                      Opposition and Reply Deadlines Set Per Local Rule 7.2(b).

               •      The parties propose an August 2025 trial date at the Court’s convenience.

If the Court would prefer to hold a hearing to discuss a new trial date with the parties, the parties

defer to the Court.

       II.     The parties jointly request this Court bifurcate the fact finding on “whether
               the Community holds an off-reservation fishing right in Alaska fishing
               districts 1 and 2” from its consideration of the State’s limited entry permit
               program and the conservation-necessity principle.

       Under Federal Rule of Civil Procedure 42(b), “[f]or convenience, to avoid prejudice, or

to expedite and economize, the court may order a separate trial of one or more separate issues,

claims, crossclaims, counterclaims, or third-party claims.” Consistent with Rule 42(b), the

parties move for an order bifurcating the trial into two separate phases. The first phase, which

the parties request to hold in August of 2025, will address the scope of Plaintiff's federally

reserved fishing rights, and the second phase will evaluate whether the State of Alaska's limited

entry program complies with the conservation necessity principle as applied to those rights.

       Separating the trial into two phases will allow the Court to efficiently resolve the

remaining issues in the case because the scope issue is distinct from the regulatory

incompatibility issue. As such, the first phase will be focused only on the facts necessary to

establish the scope of the Community’s fishing rights. The Court’s findings about the scope will

inform the second phase and the parties’ motion practice, allowing the parties to more precisely

address the incompatibility question.

       Furthermore, the parties believe that the legality of the application of the limited entry

program to the Community’s reserved rights will not require a fact-finding trial. The parties


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believe that briefing should be sufficient to resolve whether the State’s limited entry program

complies with the conservation-necessity principle such that it can apply to the Community’s

rights. If the Court determines after briefing that there are facts in dispute, the Court would then

hold a trial to determine the resolve those factual disputes.

       Bifurcation will also avoid confusing legal standards and factual determinations

necessary for resolving the scope of the Community’s federally reserved fishing right with those

necessary for assessing the legality of requiring the Community to comply with the State’s

limited entry program. Each phase requires different presentations and legal arguments. The

Court, the parties, and the pursuit of justice itself would all be best served by handling the two

remaining questions in a two-step manner rather than simultaneously.

       Lastly, the parties’ request to bifurcate is consistent with this Court’s holding in its June

2024 “Order re Motions for Summary Judgment.” 1 In that Order, the Court acknowledged it

must first determine “whether the Community holds an off-reservation fishing right in Alaska

fishing districts 1 and 2.” Only after determining if the Community “holds an off-reservation

fishing right in Alaska fishing districts 1 and 2” would the Court then consider the conservation-

necessity principle and “what aspects of the State’s limited entry program are incompatible with

the Community’s off-reservation fishing rights.” 2

       Assuming this Court bifurcates these two issues as described herein, the parties propose a

scheduling conference promptly after trial on the factual question of “whether the Community’s




       1
               ECF Doc. #70, p. 25 – 27 (June 4, 2024).
       2
               Id.
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traditional off-reservation fishing grounds included the waters within Alaska Districts 1 and 2.” 3

At that scheduling conference, this Court would set a briefing schedule and potential trial date to

address “what aspects of the State’s limited entry program are incompatible with the

Community’s off-reservation fishing rights.” 4

IV.    CONCLUSION

       Based on the parties’ joint agreement and for the reasons expressed above, the parties

respectfully request that the Court vacate the February 2025 trial date and modify the expert

discovery schedule. The parties also jointly request this Court enter an order bifurcating the trial

into two phases: one phase addressing “whether the Community holds an off-reservation fishing

right in Alaska fishing districts 1 and 2” and a second phase addressing the State of Alaska's

limited entry program and the conservation-necessity principle.

       DATED this 28th day of October, 2024.

 By: /s/ Christopher Lundberg___________         By: /s/ Christopher F. Orman___ __________
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       3
               Id.
       4
               Id.
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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the PARTIES' JOINT MOTIONS TO

VACATE THE CURRENT TRIAL DATE, MODIFY THE SCHEDULE, AND

BIFURCATE TRIAL ISSUES was filed with the Clerk of the Court for the United States

District Court – District of Alaska by using the CM/ECF system. Participants in Case No.: 5:20-

cv-00008-SLG who are registered CM/ECF users will be served by the CM/ECF system.

       DATED October 28, 2024.


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